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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                               :      CHAPTER 7
                                                     :
HP/SUPERIOR, INC.                                    :      CASE NO. 14-71797 - PWB
                                                     :
            Debtor.                                  :


  MOTION FOR ORDER: (A) AUTHORIZING SETTLEMENT BETWEEN TRUSTEE
  AND SEVERAL SUBSIDIARIES OF OMNICARE, INC. UNDER RULE 9019 OF THE
   FEDERAL RULES OF BANKRUPTCY PROCEDURE; (B) ESTABLISHING THE
      EXTENT AND PRIORITY OF THE SECURITY INTEREST OF BADGER
  ACQUISITION OF MINNESOTA, LLC IN ACCORDANCE WITH THE PROPOSED
     SETTLEMENT; AND (C) AUTHORIZING TRUSTEE TO MAKE CERTAIN
              DISTRIBUTIONS OF PROPERTY OF THE ESTATE
           IN ACCORDANCE WITH THE PROPOSED SETTLEMENT

            COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of HP/Superior, Inc. (“Debtor”), by and through the undersigned

counsel, and files this Motion for Order: (A) Authorizing Settlement Between Trustee and

Several Subsidiaries of Omnicare, Inc. under Rule 9019 of the Federal Rules of Bankruptcy

Procedure; (B) Establishing the Extent and Priority of the Security Interest of Badger

Acquisition of Minnesota, LLC in Accordance with the Proposed Settlement; and (C) Authorizing

Trustee to Make Certain Distributions of Property of the Estate in Accordance with the Proposed

Settlement (the “Settlement Motion”). In support of the Settlement Motion, Trustee respectfully

shows the Court as follows:

                                      Jurisdiction and Venue

            1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the Federal




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Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and 11 U.S.C. § 363.                 This

Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                           Background

            2.   Badger Acquisition of Minnesota, LLC d/b/a Omnicare of Minnesota

(“Omnicare”); Williamson Drug Company, Incorporated (“Williamson Drug”); NCS

Healthcare of Kansas, LLC (“NCS Kansas”); NCS Healthcare of Illinois, LLC (“NCS Illinois”);

Omnicare Pharmacies of Pennsylvania West, LLC (“Omnicare Pennsylvania”); Omnicare

Pharmacy of Tennessee, LLC (“Omnicare Tennessee”); Neighborcare Pharmacy of Virginia,

LLC (“Neighborcare Virginia”); Omnicare Pharmacy of Texas 1, LP (“Omnicare Texas 1”);

Omnicare Pharmacy of Texas 2, LP (“Omnicare Texas 2”); Omnicare of New York, LLC

(“Omnicare New York”); and Neighborcare Pharmacy Services, Inc. (“Neighborcare

Pharmacy”, and together with Omnicare, Williamson Drug, NCS Kansas, NCS Illinois,

Omnicare Pennsylvania, Omnicare Tennessee, Neighborcare Virginia, Omnicare Texas 1,

Omnicare Texas 2, and Omnicare New York, the “Plaintiffs”) are subsidiaries of Omnicare, Inc.

            3.   On November 3, 2014 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(as amended, modified, or supplemented, the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”),

initiating Chapter 11 Case No. 14-71797-PWB (the “Bankruptcy Case”).

            4.   On January 6, 2015 (the “SHI Petition Date”), Superior Healthcare Investors,

Inc. (“SHI”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code,

initiating Case No. 15-50439-PWB in the Bankruptcy Court (the “SHI Bankruptcy Case”).




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            5.    On February 3, 2015, the Bankruptcy Court entered an order [Doc. No. 59;

Case No. 14-71797-PWB] authorizing the joint administration of the Bankruptcy Case and the

SHI Bankruptcy Case for procedural purposes only under 11 U.S.C. § 1015(b).

            6.    On October 27, 2015, the Bankruptcy Court entered an order [Doc. No. 141;

Case No. 14-71797-PWB] directing the appointment of Chapter 11 trustees on behalf of Debtor

and SHI.

            7.    On October 30, 2015, the Bankruptcy Court entered an order [Doc. No. 146;

Case No. 14-71797-PWB] approving Trustee as Chapter 11 Trustee for Debtor, and on the same

day the Bankruptcy Court entered an order [Doc. No. 23; Case No 15-50439-PWB] appointing

Cathy L. Scarver (“Ms. Scarver”) as Chapter 11 Trustee for SHI.

            8.    On November 17, 2015, the Court entered an order [Doc. No. 168; Case No. 14-

71797-PWB] converting the Bankruptcy Case and the SHI Bankruptcy Case from cases under

Chapter 11 to cases under Chapter 7 of the Bankruptcy Code effective as of November 4, 2015,

and severing their joint administration.

            9.    On November 23, 2015, the United States Trustee appointed Trustee as the

Chapter 7 Trustee in the Bankruptcy Case. [Doc. No. 170; Case No. 14-71797-PWB]. Trustee

held and concluded the Section 341 meeting of creditors on January 12, 2016, and Trustee is now

the permanent Chapter 7 Trustee in the Bankruptcy Case.

            10.   Prior to the Petition Date, and for the majority of the time that the Bankruptcy

Case was pending as a Chapter 11 case, Debtor operated a long-term nursing home facility

located in the City of Superior, Douglas County Wisconsin on real property owned by SHI,

which Debtor leased from SHI.




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            11.   On February 25, 2016, the State of Wisconsin turned over to Trustee

$2,851,208.68 from Medicaid reimbursements that the State of Wisconsin had been withholding

from Debtor because of asserted unpaid bed tax assessments (the “Medicaid Funds”).

            12.   On July 19, 2016, the Bankruptcy Court entered an order [Doc. No. 209; Case No.

14-71797-PWB] approving a settlement agreement between Trustee, Ms. Scarver, and CSE

Mortgage LLC (“CSE”) and through which, among other things: (a) it was found and

determined that CSE held a first priority security interest in the assets of the Bankruptcy Estate,

including the Medicaid Funds,        in the amount of $755,677.20 (the “CSE First Priority

Security Interest”); (b) Trustee agreed to pay $559,889.50 to CSE (the “CSE Payment”) on

account of the CSE First Priority Security Interest; and (c) CSE granted the Bankruptcy Estate a

carve-out from the CSE First Priority Security Interest in the amount of $187,089.03 (the “CSE

Carve-Out”).

            13.   Trustee has made the CSE Payment to CSE in the amount of $559,889.50, and the

CSE First Priority Security Interest, less and except the CSE Carve-Out, has been satisfied.

            14.   Following the CSE Payment, the current balance of Trustee’s bank account for

the Bankruptcy Estate, less and except the CSE Carve-Out in the amount of $187,089.03, is

$2,175,706.02 (the “HP/Superior Funds”).

            15.   On December 8, 2014, Omnicare filed a proof of claim [Claim No. 4-1; Case No.

14-71797-PWB] in the Bankruptcy Case asserting a secured claim in the amount of

$5,687,440.60 (the “Omnicare Claim”).

            16.   On March 31, 2015, Omnicare filed a second proof of claim [Claim No. 18-1;

Case No. 14-71797-PWB] in the Bankruptcy Case asserting a secured claim in the amount of

$6,794,531.56 (the “Amended Omnicare Claim”). Although it appears that the Clerk of Court




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for the Bankruptcy Court inadvertently entered the Amended Omnicare Claim in the claim

registry for the Bankruptcy Case with a claim number [Claim No. 18-1; Case No. 14-71797-

PWB] that is separate and apart from the claim number of the Omnicare Claim [Claim No. 4-1;

Case No. 14-71797-PWB], the Amended Omnicare Claim was meant as, and is, an amendment

to the Omnicare Claim.

            17.   The deadline to file proofs of claim after the Bankruptcy Case was converted to a

case under Chapter 7 of the Bankruptcy Code was April 24, 2016. [Doc. No. 182].

            18.   Other than Omnicare, none of the other Plaintiffs have filed a proof of claim in

Debtor’s Bankruptcy Case.

            19.   Omnicare asserts that the basis for its purported secured claim is: (a) a security

agreement (the “Security Agreement”) entered into by Debtor, Omnicare, and affiliates of

Debtor or Omnicare on or about November 16, 2010 to, among other things, secure an unpaid

obligation of the Debtor arising from services rendered by Omnicare to Debtor in the original

amount of $312,387.57; and (b) a judgment entered on or about January 22, 2014, in favor of the

Plaintiffs and against Debtor and several of Debtor’s affiliates by the United States District

Court, Northern District of Georgia, Atlanta Division in the matter styled as Williamson Drug

Company, et al. v. HP/Cambridge House, Inc., et al. (Civil Action File No. 1:12-CV-4017-TWT)

(the “Judgment”).

            20.   On January 6, 2011, Omnicare, along with the other Plaintiffs, filed a UCC-1 to

perfect its security interest granted by the Security Agreement in the property of Debtor and

Debtor’s affiliates.

            21.   Debtor and several of its affiliates are obligated to the Plaintiffs, jointly and

severally, as a result of the Judgment.




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            22.   Omnicare contends that the Amended Omnicare Claim is secured in and against

all property of the Bankruptcy Estate, including the Medicaid Funds, and that it is thus entitled to

the entirety of the HP/Superior Funds (“Omnicare’s Contention”).

            23.   The other Plaintiffs (other than Omnicare) also contend that, even though they

have not filed a claim in Debtor’s Bankruptcy Case, they have a lien against all property of the

Bankruptcy Estate, including the Medicaid Funds, as a result of the entry of the Judgment

(the “Plaintiffs’      Contention”     and,    collectively    with    Omnicare’s       Contention,

the “Contentions”).

            24.   Trustee vigorously contests the Contentions and asserts that the Omnicare Claim

is secured only to the extent of the consensual lien (the “Consensual Lien”) arising from the

Security Agreement and that any lien arising from the Judgment did not attach to any property of

the Bankruptcy Estate, including the Medicaid Funds.

            25.   As of September 11, 2016, the balance of the obligation secured by the

Consensual Lien arising from the Security Agreement was $615,670.86, plus per diem interest of

$150.81.

            26.   Subject to Bankruptcy Court approval, Trustee and the Plaintiffs (each a “Party”

and collectively, the “Parties”) have reached a compromise and agreement resolving the

disputes between them including the Contentions (the “Omnicare Claim Issues”), including the

extent to which the Omnicare Claim and the Judgment are secured by property of the Bankruptcy

Estate, on the terms set forth in the Settlement Agreement (defined below) and summarized in

this Settlement Motion.




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                                           The Proposed Settlement

            27.   The Parties have entered into a compromise and settlement agreement, subject to

Court approval, resolving the Omnicare Claim Issues. A true and correct copy of that agreement

is attached to this Settlement Motion and incorporated herein by reference as Exhibit “A” (the

“Settlement Agreement”).              The material terms of the Settlement Agreement are outlined

below:1

                       a. Effective upon the Settlement Approval Order becoming final, Omnicare
                          shall have a first priority security interest in and to the HP/Superior Funds
                          but only to the extent of $615,670.86.2

                       b. Within five (5) business days of the Settlement Approval Order becoming
                          final, Trustee shall pay $615,670.86 (the “Omnicare Secured Claim
                          Payment”) to Omnicare by delivering a check made payable to “Badger
                          Acquisition of Minnesota, LLC” in the amount of $615,670.86 to the
                          attention of Omnicare’s counsel, Lauren M. Gregory at the following
                          address: 1075 Peachtree Street, NE, Suite 2500, Atlanta, GA 30309-3962.
                          Trustee shall request authority from the Bankruptcy Court to make the
                          Omnicare Secured Claim Payment in the Settlement Approval Motion.

                       c. Effective upon the Settlement Approval Order becoming final, the
                          Amended Omnicare Claim shall be allowed as a secured claim in the
                          amount of $615,670.86 and as a non-priority general unsecured pre-
                          petition claim in the amount of $6,178,860.70 (collectively, the “Final
                          Claim Amounts”). To avoid confusion as to the amount or classification
                          of the Amended Omnicare Claim, Omnicare shall further amend the
                          Amended Omnicare Claim to reflect accurately the Final Claim Amounts
                          and the classification of the Amended Omnicare Claim as a partially
                          secured claim and as a partially general unsecured, non-priority pre-
                          petition claim (the “Revised Amended Omnicare Claim”) within thirty
                          (30) days of Trustee making the Omnicare Secured Claim Payment.

                       d. The Plaintiffs stipulate and agree that no lien from the Judgment is
                          attached or was ever attached to any property of the Bankruptcy Estate,
                          including the Medicaid Funds, and each of the Plaintiffs waive any rights,

1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the terms of the
Settlement Agreement shall control.
2
        The security interest of Omnicare is technically junior to the CSE First Priority Security Interest, but the
CSE First Priority Security Interest has been satisfied but for the CSE Carve-Out.


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                         if any, to assert such a judgment lien against property of the Bankruptcy
                         Estate, including the Medicaid Funds.

                      e. Effective upon the Settlement Approval Order becoming final, the Parties
                         shall grant mutual releases in favor of one and other.

                                            Relief Requested

            28.   Trustee requests an order from the Bankruptcy Court approving the Settlement

Agreement, making the findings and determinations required under the Settlement Agreement,

and authorizing and directing the disbursements required under the Settlement Agreement.

            29.   Trustee requests an order from the Bankruptcy Court finding and determining that

Omnicare has a first priority security interest in and to the HP/Superior Funds in an amount equal

to $615,670.86 in accordance with Section 2.2 of the Settlement Agreement.

            30.   Trustee requests an order from the Bankruptcy Court authorizing and directing

Trustee to make the Omnicare Secured Claim Payment to Omnicare in accordance with Section

2.3 of the Settlement Agreement.

                                            Basis for Relief

            31.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

            When a bankruptcy court decides whether to approve or disapprove a proposed
            settlement, it must consider:

                  (a) The probability of success in the litigation; (b) the difficulties,
                  if any, to be encountered in the matter of collection; (c) the
                  complexity of the litigation involved, and the expense,



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                  inconvenience and delay necessarily attending it; (d) the
                  paramount interest of the creditors and a proper deference to their
                  reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).3

            32.   The proposed settlement between Trustee and the Plaintiffs is the product of

arm’s-length negotiations and reflects the Parties’ analysis and consideration of the relevant

legal, factual, and economic issues.

            33.   Given the potential time and expense of litigating the Omnicare Claim Issues,

including the extent to which the Omnicare Claim and Judgment are secured by property of the

Bankruptcy Estate, and the contingent nature of the same, in the event that the claims that are

proposed to be settled are instead prosecuted, the amount of time that such litigation will require,

the potential accrual of additional post-petition interest that may be compensable under Section

506(b) of the Bankruptcy Code, the delay before the final outcome is known (including potential

appeals), and the complexity and uncertain resolution of factual and legal disputes, settlement on

the terms described in the Settlement Agreement is a proper exercise of Trustee’s business

judgment and in the best interests of the Bankruptcy Estate. In fact, Trustee estimates that

litigating the Omnicare Claim Issues could take a substantial amount of time and could cost the

Bankruptcy Estate a substantial amount in attorney’s fees without the certainty of a favorable


3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the Eleventh Circuit Court
of Appeals adopted as binding precedent the decisions of the former Fifth Circuit issued before October 1, 1981.


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outcome. The proposed Settlement Agreement allows the HP/Superior Bankruptcy Estate to

avoid these costs. In addition, the Bankruptcy Estate will still hold an additional $1.5 million

free and clear of any lien claim of CSE or the Plaintiffs, a portion of which may be available for

distribution to unsecured creditors (depending on additional litigation or settlement related to the

extent, validity, and priority of other asserted secured claims), whether priority or non-priority.

In summary, the proposed Settlement Agreement represents an advantageous result for the

Bankruptcy Estate and clearly falls within the range of reasonableness required under

Justice Oaks.

            34.    Under the standard set forth above and for the reasons previously detailed in this

Settlement        Motion,   Trustee    requests   that   the    Bankruptcy    Court    approve    the

Settlement Agreement.

            WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order:

       i.          granting this Settlement Motion;

      ii.          authorizing Trustee to take actions reasonably necessary to effectuate the terms of

                   the Settlement Agreement;

     iii.          finding and determining that Omnicare has a first-priority security interest in and

                   to the HP/Superior Funds in an amount equal to $615,670.86;

     iv.           authorizing and directing Trustee to make the Omnicare Secured Claim Payment

                   in accordance with Section 2.3 of the Settlement Agreement; and




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      v.           granting to Trustee such other and further relief as the Court deems just and

                   appropriate.

            Respectfully submitted, this 7th day of October, 2016.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By:/s/ Michael J. Bargar
                                                             Sean C. Kulka
                                                             Georgia Bar No. 648919
                                                             sean.kulka@agg.com
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
(404) 873-8500                                               michael.bargar@agg.com




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                            EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order: (A) Authorizing Settlement
Between Trustee and Several Subsidiaries of Omnicare, Inc. under Rule 9019 of the Federal
Rules of Bankruptcy Procedure; (B) Establishing the Extent and Priority of the Security Interest
of Badger Acquisition of Minnesota, LLC in Accordance with the Proposed Settlement; and (C)
Authorizing Trustee to Make Certain Distributions of Property of the Estate in Accordance with
the Proposed Settlement by first class United States mail on the following persons or entities at
the addresses stated:

David S. Weidenbaum                                  HP/Superior, Inc.
Office of the United States Trustee                  5174 McGinnis Ferry Road
362 Richard B. Russell Federal Building              Suite 195
75 Ted Turner Drive, SW                              Alpharetta, GA 30005
Atlanta, GA 30303
                                                     Kevin A. Stine
S. Gregory Hays                                      Baker Donelson Bearman
Hays Financial Consulting, LLC                       Monarch Plaza, Suite 1600
3343 Peachtree Road, NE, Suite 200                   3414 Peachtree Road, NE
Atlanta, GA 30326                                    Atlanta, GA 30326

Cathy L. Scarver                                     Internal Revenue Service
P. O. Box 672587                                     Insolvency Unit
Marietta, GA 30006                                   401 West Peachtree Street
                                                     Stop 335-D
Ashley Reynolds Ray                                  Atlanta, GA 30308
Scroggins & Williamson
One Riverside, Suite 450                             Department of Justice - Tax Division
4401 Northside Parkway                               Attn: Chief, Civil Trial Section
Atlanta, GA 30237                                    Southern Region
                                                     P.O. Box 14198
G. Frank Nason, IV                                   Ben Franklin Station
Lamberth, Cifelli, Ellis & Nason, P.A.               Washington, D.C. 20044
1117 Perimeter Center West
Suite W 212                                          United States Attorney General
Atlanta, GA 30338                                    Main Justice Building
                                                     10th and Constitution Avenue, NW
                                                     Washington, D.C. 20530




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U.S. Attorney                                    Hiram Cutting
Northern District of Georgia                     Wisconsin Department of Revenue
Civil Division, Attn: Civil Clerk                Special Procedures Unit
600 Richard B. Russell Building                  PO Box 8901
75 Spring Street, S.W.                           Madison, WI 53708-8901
Atlanta, GA 30303
                                                 The Stark Collection Agency Inc.
Lisa Johnson                                     PO Box 45710
Bankruptcy Specialist                            Madison, WI 53744-5710
Internal Revenue Service
401 W Peachtree ST, NW                           State of Wisconsin, DWD – UI
M/S 334-D                                        PO Box 8914
Atlanta, GA 30308                                Madison, WI 53708

F. Mark Bromley                                  Ariane Daniels
Wisconsin Dept. of Justice                       State of Wisconsin, DWD – UI
17 West Main Street                              PO Box 8914
P. O. Box 7857                                   Madison, WI 53708
Madison, WI 53707-7857
                                                 Badger Acquisition of Minnesota
Wisconsin Department of Revenue                  d/b/a Omnicare of Minnesota
Special Procedures Unit                          900 Omnicare Center
PO Box 8901                                      201 East Fourth Street
Madison, WI 53708-8901                           Cincinnati, OH 45202

Lauren M. Gregory                                JoAnn Billman
Seyfarth Shaw LLP                                Omnicare, Inc.
1075 Peachtree Street, NE, Suite 2500            900 Omnicare Center
Atlanta, GA 30309                                201 East Fourth Street
                                                 Cincinnati, OH 45202




            This 7th day of October, 2016

                                                        /s/ Michael J. Bargar
                                                        Michael J. Bargar
                                                        Georgia Bar No. 645709




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